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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


HYPER SEARCH LLC,

                       Plaintiff,
                                                      C.A. No. 1:18-cv-01274-CFC
               v.

FOURSQUARE LABS, INC.,

                       Defendant.


                DECLARATION OF KENNETH BRESSLER IN SUPPORT
               OF FOURSQUARE LAB INC.’S MOTION FOR SANCTIONS

Kenneth L. Bressler declares:

        1.     I am an attorney at law duly licensed to practice before all courts of New York

and admitted to practice pro hac vice before this Court. I am a partner in the law firm of Blank

Rome LLP, and attorney of record for defendant Foursquare Labs, Inc. I have personal

knowledge of the facts set forth herein and, if called as a witness, could testify competently to

them.

        2.     On October 11, 2018, my co-counsel Adam V. Orlacchio, attorney for record for

Foursquare, and I had a teleconference with Patrick R. Delaney and Timothy Devlin, counsel for

plaintiff Hyper Search LLC, about the merits of this lawsuit.

        3.     During the call, I explained that the Foursquare system cannot infringe the

asserted claims of the of U.S. Patents Nos. 6,792,412 and 8,260,733 because they require a

“neural network” and the Foursquare system does not have one.

        4.     On November 5, 2018, we had a second call with Mssrs. Delaney, Devlin, and

Benjamin R. Johnson about the merits of this lawsuit and Foursquare’s motion for sanctions

pursuant to Federal Rule of Civil Procedure 11.
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       5.     During the call, I again explained the Foursquare system cannot infringe the

asserted claims of the of U.S. Patents Nos. 6,792,412 and 8,260,733 because they require a

“neural network” and the Foursquare system does not have one.

       6.     Counsel for Hyper Search refused to withdraw the complaint.

       7.     Attached hereto as Exhibit A is a true and correct copy of Foursquare’s

November 5, 2018 letter enclosing its draft motion for sanctions pursuant to Federal Rule of

Civil Procedure 11(c)(2).


       I declare under penalty of perjury that the foregoing is true and correct


 Dated: November 30, 2018
 New York, New York                                    /s/ Kenneth L. Bressler
                                                       Kenneth L. Bressler




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        to Declaration of Kenneth L. Bressler in Support of Motion for Sanctions

      (Foursquare's November 5, 2018 letter enclosing its draft motion for sanctions)
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                                          Foursquare Labs, Inc.
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


HYPER SEARCH LLC,

                   Plaintiff,
                                          C.A. No. 1:18-cv-01274-CFC
            v.

FOURSQUARE LABS, INC.,

                   Defendant.




                      DEFENDANT’S MEMORANDUM OF LAW
                     IN SUPPORT OF MOTION FOR SANCTIONS




                                    BLANK ROME LLP
                                    Adam V. Orlacchio (#5520)
                                    1201 N. Market Street, Suite 800
                                    Wilmington, Delaware 19801
                                    (302) 425-6431 Telephone
                                    (302) 425-6464 Facsimile
                                    orlacchio@blankrome.com

                                    Attorneys for Defendant,
                                    Foursquare Labs, Inc.
Dated: November 5, 2018
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I.     INTRODUCTION

       Plaintiff Hyper Search, LLC (“Hyper Search”) and its attorneys, Toler Law Group and

Devlin Law Firm, should be sanctioned under Federal Rule of Civil Procedure 11, 35 U.S.C. §

285 and 28 U.S.C. § 1927 for maintaining this action despite knowing that defendant Foursquare

Labs, Inc.’s (“Foursquare”) recommendation system cannot infringe the asserted claims of U.S.

Patents Nos. 6,792,412 (“the ’412 Patent”) and 8,260,733 (“the ’733 Patent”) and knowing the

asserted claim of U.S. Patent No. 7,120,615 (“the ’615 Patent”) is indefinite as a matter of law.

       Each of the asserted claims of the ’412 and ’733 Patents requires a neural network. The

claims further require that the neutral network use feedback provided by users and readjust

automatically how different features of a venue are weighted. As explained below, Foursquare

unequivocally does not use a neural network for this purpose. Instead, engineers manually adjust

how features of a venue are weighted. Manual manipulation of weights is diametrically opposed

to how weights are adjusted in a neural network. Thus, it impossible for the Foursquare system

to infringe the asserted claims of the ’412 and ’733 Patents.

       Hyper Search’s continued assertion of the ’615 Patent is equally sanctionable. The

asserted claim of the ’615 Patent purports to be a system claim and yet it includes a method step

directed to a user action. In other words, it claims two distinct statutory classes of subject matter.

Hyper Search and counsel are well-aware that this is impermissible and that the claim is

indefinite as a matter of law under controlling Federal Circuit precedent.

       Despite their knowledge, Hyper Search and its counsel continue to assert this frivolous

case. Hyper Search has left Foursquare no other choice: It had to file this Rule 11 motion to

request that the Court dismiss Hyper Search’s Complaint with prejudice and save Foursquare

from having to waste resources defending against these frivolous claims.



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II.    NATURE AND STAGE OF PROCEEDINGS

       Hyper Search filed this lawsuit on August 20, 2018. (D.I. 1 (Complaint)). It has accused

Foursquare of directly and indirectly infringing claim 1 of the ’412 Patent, claim 6 of the ’615

Patent, and claim 6 of the ’733 Patent by making and inducing its customers to use the

Foursquare recommendation system. (Id. ¶¶ 39, 48, 71, 80, 103, 113). Foursquare’s response to

the Complaint is due November 26, 2018. (D.I. 8).

       In accordance with Federal Rule of Civil Procedure 11(c)(2), the instant motion was

served on Hyper Search on November 5, 2018. Foursquare requested that Hyper Search

withdraw its Complaint and Hyper Search failed to do so within the requisite twenty-one days.1

III.   SUMMARY OF ARGUMENT

       1.      Rule 11 sanctions are appropriate when, as here, a party and its attorneys continue

to maintain an action after it is no longer tenable. This action is not tenable because Hyper

Search cannot satisfy its burden that Foursquare infringes asserted claims of the ’412 and ’733

Patents because the Foursquare system does not have a neural network as required by the claims.

Further, Hyper Search’s assertion of the ’615 Patent is not tenable because the asserted claim is

indefinite as a matter of law as it a system claim that includes a method step.

       2.      This case is exceptional and sanctions are warranted under 35 U.S.C. § 285

because Hyper Search and its attorneys are acting in bad faith and manifestly unreasonable by

continuing to maintain this action despite knowing Foursquare cannot infringe the asserted

claims of ’412 and ’733 Patents and knowing the asserted claim of the ’615 is indefinite.




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  Foursquare’s November 5, 2018 letter enclosing its draft motion for sanctions pursuant to
Federal Rule of Civil Procedure 11(c)(2) is attached as Exhibit B to the Declaration of Kenneth
L. Bressler (“Bressler Decl.”), filed herewith. See Bressler Decl. ¶ 10. The Bressler Decl. is
attached as Exhibit 1 of this motion.
                                                 2
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       3.      Sanctions are warranted under 28 U.S.C. §1927 because Hyper Search’s attorneys

are continuing to maintain this action despite knowing Foursquare cannot infringe the asserted

claims of ’412 and ’733 Patents and knowing the asserted claim of the ’615 is indefinite.

IV.    STATEMENTS OF FACT

            A. Hyper Search’s Patents

       The asserted ’412 and ’733 Patents purport to provide a system or method that includes a

neural network that automatically – without human input – redetermines or modifies weight

values given to certain information.

       Hyper Search only asserts claim 1 of the ’412 Patent against Foursquare. Claim 1 recites:

                    1. A system for controlling information output based on user
            feedback about the information comprising:
                    a plurality of information sources providing information;
                    at least one neural network module that selects one or more of a
            plurality of objects to receive information from the plurality of
            information sources based at least in part on a plurality of inputs and a
            plurality of weight values;
                    at least one server, associated with the neural network module, that
            provides one or more of the objects to one or more recipients;
                    the recipients enabling for one or more users to generate feedback
            about the information; and
                    wherein the neural network module generates a rating value
            for a plurality of the objects at the end of an epoch, redetermines the
            weight values using the rating values, and selects which objects to
            receive information during a subsequent epoch using the
            redetermined weight values and the inputs for that subsequent epoch.

(D.I. 1017-1 at 24 (’412 Patent claim 1 at col. 19, l. 47-67)).

       The only claim from the ’733 Patent that Hyper Search asserts against Foursquare is

claim 6. (See D.I. 1017-6). Claim 6 recites:

                    6. A method, comprising:
                    conveying, in response to selection of a first network location, a
            list of one or more links to respective one or more second network
            locations;
                    modifying, as facilitated by one or more processors, at least one
            weight value associated with a respective at least one node of a neural
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            network based on selection of a link, of the one or more links, by a
            device;
                    learning, by the neural network based on the at least one weight
            value, that selection of the first network location during respective epochs
            is followed by selection, according to respective probabilities, of a first
            subset of the one or more links, the respective epochs comprising
            durations of time for visits to the first network location by the respective
            devices; and
                    conveying, during a subsequent visit to the first network location, a
            modified list of the one or more links comprising the first subset of the one
            or more links based on the determining.

(D.I. 1017-5 at 25 (’733 Patent claim 6 at col. 19, l. 61 – col. 20, l. 13)).

        The ’615 Patent purportedly uses an artificial intelligence module to rank information and

sort that information into slots for a user. When the user selects a slot, feedback is provided to

the artificial intelligence module, which updates the ranking based on the feedback. Hyper

Search only asserts claim 6 of this patent against Foursquare. Claim 6 recites:

                    6. A system for controlling information output based on user
            feedback comprising:
                    a server for providing pieces of information to a recipient via a
            plurality of slots that present the pieces of information to a user; and
                    an artificial intelligence module for communicating with the server
            and for ranking the pieces of information such that the pieces of
            information are placed in given ones of the plurality of slots,
                    wherein when one of the slots is selected by the user, such act
            of selection comprises feedback to the artificial intelligence module about
            a corresponding piece of information and the artificial intelligence module
            reranks the pieces of information, and
                    wherein, in response to a subsequent query, at least one of the
            pieces of information is either placed in a slot different from a slot in
            which the piece of information was previously placed and presented to the
            user as a result of the reranking or not placed in any of the slots presented
            to the user.

(D.I. 1017-3 at 25 (’615 Patent claim 6 at col. 20, l. 26-46)).

            B. Foursquare’s Recommendation System

        Foursquare provides an online service that makes recommendations to users who are

searching for places to go, such as an Italian restaurant in Wilmington, Delaware. (Declaration


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of Matthew Kamen (“Kamen Decl.”) ¶ 3 (attached as Exhibit 2 to this motion)). The

recommendation system works as follows: When a user executes a search for a nearby Italian

restaurant, Foursquare’s server first retrieves a list of all possible candidates that is too long to

show the user. (Id. ¶ 6). For example, the results would include Italian restaurants that would be

too far away from the user. (Id.) The system then generates a series of scores based on a

restaurant’s many features, including, for example, distance from the user, the restaurant’s

popularity, and the number of the user’s friends who have been to the restaurant, whether the

user or the user’s friends have previously liked or disliked the restaurant. (Id. ¶ 7).

        The system then develops a ranking value for each of the restaurants by looking to those

features. (Id. ¶ 8). Each feature has a preset value (or weight) assigned to it. (Id.) Engineers at

Foursquare determined the weight value given to each feature or a merged group of features. (Id.

¶ 10). For example, assume that twenty of the user’s friends have been to the restaurant. (Id. ¶

8). This twenty-value (or score) is multiplied by a weight value, assume 0.05, to provide a

weighted value of 1.0. (Id.) As another example, the system may find a restaurant that is two

blocks away and one that is fifteen miles away. (Id.) This distance-value (or score) for each

restaurant is combined with a weight assigned to that feature (i.e., distance from the user),

assume again 0.05, to provide a value of -0.02 for the restaurant that is two blocks away and

0.0033 for the restaurant that is fifteen miles away, showing a preference for closer locations.

(Id.) The final score value, which is a combination of the weighted scores, is then used in

determining the order in which the Italian restaurants are presented to the user. (Id.)

            C. Meet and Confers between Counsel for Hyper Search and Foursquare

        On October 11, 2018, counsel for Hyper Search and Foursquare had a meet and confer to

discuss the frivolousness of this lawsuit. (See Bressler Decl. ¶ 2). During the call, Foursquare’s

counsel explained the Foursquare system cannot infringe the asserted claims of the ’412 Patent
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and the ’615 Patent because they require a “neural network” and the Foursquare system does not

have one. (Id. ¶ 3). Foursquare’s counsel also explained that the asserted claim of the ’615

Patent is indefinite as a matter of law because it includes two statutory classes in a single claim.

(Id. ¶ 4). Namely, the claim is a system claim and yet requires an act of selection by the user

(i.e., a method step). (Id.) Foursquare’s counsel further explained that under Federal Circuit

precedent a claim that mixes an apparatus and method is indefinite. (Id.). Hyper Search’s

counsel summarily dismissed this evidence, forcing Foursquare to serve this Rule 11 motion.

(See Bressler Decl. ¶ 9; Ex. A,).

       On November 5, 2018, counsel for Hyper Search and Foursquare had a second meet and

confer to discuss the frivolousness of this lawsuit and this Rule 11 motion. (Bressler Decl. ¶ 5).

Counsel for Foursquare again requested that Hyper Search withdraw the Complaint because the

asserted claims of the ’412 and ’733 Patents could not be infringed since the Foursquare system

does not have a neural network as required by the claims and because the asserted claim of the

’615 Patent is indefinite under settled Federal Circuit precedent since it claims two distinct

statutory classes of subject matter (i.e., an apparatus and a method step). (Id. ¶ 6). Counsel for

Hyper Square refused to do so. (Id. ¶ 7). Hyper Search’s refusal left Foursquare no other option.

Counsel for Foursquare told counsel for Hyper Search that Foursquare would file this motion for

sanctions pursuant to Federal Rule of Civil Procedure 11 on November 5, 2018. (Id. ¶ 8).

V.     ARGUMENT

           A. The Continued Maintenance of this Action Violates Rule 11

                   1. Rule 11 Standard

       Pursuant to Federal Rule of Civil Procedure 11, an attorney presenting any “pleading,

written motion, or other paper” to the Court certified that he or she has performed “an inquiry

reasonable under the circumstances” such that (1) “it is not being presented for any improper
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purpose, such as to harass, cause unnecessary delay, or needless increase in the cost of

litigation;” (2) “the factual contentions have evidentiary support or, if specifically so identified,

will likely have evidentiary support after a reasonable opportunity for further investigation or

discovery;” and (3) “the denials of factual contentions are warranted on the evidence or, if

specifically so identified, are reasonably based on belief or a lack of information.” FED. R. CIV.

P. 11(b)(1), (3) and (4).

        The Court is permitted to impose sanctions when Rule 11(b) is violated:

            If, after notice and a reasonable opportunity to respond, the court
            determines that Rule 11(b) has been violated, the court may impose an
            appropriate sanction on any attorney, law firm, or party that violated the
            rule or is responsible for the violation.

FED. R. CIV. P. 11(c).

        Rule 11 “sanctions are proper when, inter alia, a party ‘insists upon a position after it is

no longer tenable.’” Balthazar v. Atl. City Med. Ctr., 137 Fed. App’x 482, 490 (3d Cir. 2005)

(quoting FED. R. CIV. P. 11 Advisory Committee’s Note). “A litigant’s obligations with respect

to the contents of [papers filed with the court] are not measured solely as of the time they are

filed with or submitted to the court, but include reaffirming to the court and advocating positions

contained in those pleadings and motions after learning that they cease to have any merit.”

Loving v. Pirelli Cable Corp., 11 F. Supp. 2d 480, 493 (D. Del. 1998) (alteration in original)

(quoting 1993 Advisory Committee Notes to Rule 11); see also Phonometrics, Inc. v. Economy

Inns of Am., 349 F.3d 1356, 1363-65 (Fed. Cir. 2003) (affirming order awarding defendant

attorneys’ fees and costs under Rule 11 where plaintiff maintained its claim of patent

infringement when it was clear plaintiff’s case was untenable following Federal Circuit’s

interpretation of patent at issue).




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                   2. Hyper Search’s Continued Prosecution of the
                      ’412 and ’733 Patents Despite Non-
                      Infringement is Sanctionable.

       To establish infringement of claim 1 of the ’412 Patent and claim 6 of the ’733 Patent,

Hyper Search must prove that every limitation recited in the claims is found in the accused

product – Foursquare’s recommendation system. Telemac Cellular Corp. v. Topp Telecom, Inc.,

247 F.3d 1316, 1330 (Fed. Cir. 2001) (affirming district court’s holding that accused product did

not infringe asserted patent because it did not satisfy each and every claim limitation); Amgen,

Inc. v. Ariad Pharm., Inc., 577 F. Supp. 2d 695, 701 (D. Del. 2008) (granting summary judgment

on non-infringement because accused product did not satisfy every claim limitation). As shown

below, Hyper Search cannot satisfy its burden.

       Both claim 1 of the ’412 Patent and claim 6 of the ’733 Patent require a “neural

network.” (D.I. 1017-1 at 24 (’412 Patent claim 1 at col. 19, l. 47-67); D.I. 1017-5 at 25 (’733

Patent claim 6 at col. 19, l. 61 – col. 20, l. 13)). The claims further require that the neutral

network use feedback provided by users and readjust automatically how different features of a

venue are weighted. Specifically, claim 1 of the ’412 Patent requires that the neural network

“redetermines the weight value using the rating values,” and claim 6 of the ’733 Patent requires

“modifying, as facilitated by one or more processors, at least one weight value associated with a

respective at least one node of a neural network based on selection of a link, of the one or more

links, by a device.” Hyper Search must prove that Foursquare’s system has a “neural network”

that meets these limitations to succeed on its infringement claims. It cannot, however, do so

because Foursquare unequivocally does not use a neural network for this purpose. (See Kamen

Decl. ¶ 5).




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        The rating determination method used in the Foursquare system is in no way similar to a

neural network. (Id. ¶ 9). At Foursquare, the weight given to each feature or a merged group of

features does not change unless the company decides to have one of its engineers manually make

changes by reviewing search results to see if he or she thinks that the results are not as useful as

they can be. (Id. ¶ 10). For example, if the search for an Italian restaurant in Wilmington shows

as the first result a restaurant that is three miles from where the search takes place, the engineer

may give a greater weight to the distance to the restaurant so that restaurants that are closer to the

user are recommended. (Id.)

        Having engineers manually adjust the weight given to certain features is diametrically

opposed to the way weights are adjusted in a neural network. (Id. ¶ 11). In a neural network, the

system itself—as opposed to an engineer—uses the feedback provided by users and readjusts

weights automatically. (Id.) For example, a neural network would understand from the

restaurants chosen by users from the list of recommendations given to them that the users may

value the proximity to where they are more than whether their friends have been there and would

adjust to give more weight to proximity. (Id.) This can be seen in claim 1 of the ’412 Patent,

which requires that the neural network “redetermines the weight value using the rating values,”

and in claim 6 of the ’733, which includes “modifying, as facilitated by one or more processors,

at least one weight value associated with a respective at least one node of a neural network based

on selection of a link, of the one or more links, by a device.” (See D.I. 1017-1 at 24 (’412 Patent

claim 1 at col. 19, l. 47-67); D.I. 1017-5 at 25 (’733 Patent claim 6 at col. 19, l. 61 – col. 20, l.

13)). As the Foursquare system does not have a neural network, it cannot infringe the asserted

claims of the ’412 and ’733 Patents. Telemac Cellular, 247 F.3d at 1330.




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       Hyper Search and its counsel had no proof or reason to believe the Foursquare system

had a neural network when they filed this lawsuit. In the Complaint, Hyper Search refers to a

document titled “Finding the Perfect 10: How We Developed the Foursquare Rating System” as

evidence that Foursquare uses a neural network (see D.I. 1017-2 at 3). Butthat article makes

clear that Foursquare uses a natural language pipeline in combination with a statistical analysis

model known as trinomial logistic regression to determine whether a particular user response is a

like, dislike or okay—the three options— and only describes how Foursquare determines the

meaning of user feedback on an item. (Kamen Decl. ¶ 12). For example, an “amazing” is turned

into a “like” for purposes of ranking the restaurant. (Id.) For clarity, trinomial logistic

regression is a statistical analysis modelling method and is not a neural network. (Id.)

       Moreover, since then, there can be no dispute that Hyper Search and its counsel are well-

aware that the Foursquare system cannot infringe the asserted claims of the ’412 and ’733

Patents because counsel for Foursquare explicitly told them on two separate occasions that the

Foursquare system does not include a neural network. (Bressler Decl. ¶¶ 3, 6). Thus, Hyper

Search and its counsel refusal to withdraw the Complaint warrants sanctions under Rule 11 as its

position is not “tenable.” See Balthazar, 137 Fed. App’x at 490.

                   3. Hyper Search’s Continued Prosecution of the
                      ’615 Patent Despite Its Indefiniteness is
                      Sanctionable.

       Under settled Federal Circuit law, a single claim that covers both an apparatus and a

method of using that apparatus is indefinite. IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430

F.3d 1377, 1384 (Fed. Cir. 2005). The patent claim in IPXL recited:

           The system of claim 2 [including an input means] wherein the predicted
           transaction information comprises both a transaction type and transaction
           parameters associated with that transaction type, and the user uses the
           input means to either change the predicted transaction information or
           accept the displayed transaction type and transaction parameter.
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Id. (emphasis and alterations in original; internal citations omitted). In other words, the

claim is for a system (i.e., electronic financial system) but it includes a limitation directed

toward user action (i.e., the user uses the input means). Id.

       The Federal Circuit held a claim that recites “both a system and the method for using that

system” is invalid as indefinite because “it does not apprise a person of ordinary skill” whether

infringement “occurs when one creates a system” “or whether infringement occurs when the user

actually uses” the system by performing the claimed method steps. Id. It therefore found the

claim at issue in IPXL invalid as indefinite. Id.; see also H-W Tech., L.C. v. Overstock.com, Inc.,

758 F.3d 1329, 1336 (Fed. Cir. 2014) (affirming indefiniteness of claim to “a tangible computer

readable medium” with limitations directed to user actions – “wherein said user completes a

transaction with at least one of said merchants listed without the need to generate a voice call”

and “wherein said user selects one of said variety of offers associated with said one of said

merchants listed”); In re Katz Interactive Call Processing Patent Litig., 639 F.3d 1303, 1318

(Fed. Cir. 2011) (affirming indefiniteness of claims “directed both to systems and to actions

performed by ‘individual callers’”).

       Claim 6 of the ’615 Patent, like the claim at issue in IPXL, is a system claim. (D.I. 1017-

3 at 25 (’615 Patent claim 6 at col. 20, l. 26-46)). At the same time, the claim recites at least one

method step that must be performed by the user, i.e., an act of selection by the user: “when one

of the slots is selected by the user, such act of selection.” (Id.) Claim 6 thus mixes two different

statutory classes of subject matter – an apparatus and a method. As in IPXL, when analyzing

infringement of claim 6, it is impossible to determine whether infringement occurs when one

creates a system or whether infringement occurs when a user actually uses the system by

performing the claimed method step. Claim 6 is therefore invalid as indefinite as a matter of law

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and cannot be construed. See IPXL, 430 F.3d at 1384. Because asserted claim 6 is invalid, it

cannot be infringed. See Commil USA, LLC v. Cisco Sys., Inc., 720 F.3d 1361, 1368 (Fed. Cir.

2013), vacated in part on other grounds, 135 S. Ct. 1920 (2015) (“It is axiomatic that one cannot

infringe an invalid patent.”).

       Hyper Search and its counsel are well-aware that asserted claim 6 of the ’615 Patent is

indefinite because counsel for Foursquare explicitly told them on two separate occasions and by

email that it impermissibly claims two distinct statutory classes of subject matter. (See Bressler

Decl. ¶¶ 4, 6, 9; Ex. A). Thus, Hyper Search and its counsel refusal to withdraw the ’615 Patent

from the case warrants sanctions under Rule 11 as its position is not “tenable.” See Balthazar,

137 Fed. App’x at 490.

           B. The Continued Maintenance of this Action Makes this an Exceptional Case
              under 35 U.S.C. § 285.

       The Supreme Court has held “that an ‘exceptional’ case is simply one that stands out

from others with respect to the substantive strength of a party’s litigating position (considering

both the governing law and the facts of the case) or the unreasonable manner in which the case

was litigated. District courts may determine whether a case is ‘exceptional’ in the case-by-case

exercise of their discretion, considering the totality of the circumstances.” Octane Fitness, LLC

v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014). The Supreme Court further

explained that “a case presenting either subjective bad faith or exceptionally meritless claims

may sufficiently set itself apart from mine-run cases to warrant a fee award.” Id. at 1757.

       Maintenance of a patent infringement action that has no evidentiary basis makes a case

exceptional under 35 U.S.C. § 285. See, e.g., Xiaohua Huang v. Huawei Techs. Co., 735 F.

App’x 715, 722 (Fed. Cir. 2018) (affirming award of attorneys’ fees under § 285 where patentee

“submitted no evidence of pre-suit investigation,” submitted “no evidence of infringement” and


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“litigated the case in a frivolous manner”); AdjustaCam, LLC v. Newegg, Inc., 861 F.3d 1353,

1360-62 (Fed. Cir. 2017) (reversing denial of motion for attorneys’ fees where the record showed

that the plaintiff (1) maintained its infringement case even though, as applied to the defendant’s

products, the infringement case was baseless after the district court’s claim construction; (2)

behaved “dubious[ly]” in litigating the case; and (3) applied a damages model that extracted

nuisance-value settlements from many defendants while “continu[ing] to press baseless

infringement contentions”); Eltech Sys. Corp. v. PPG Indus., Inc., 903 F.2d 805, 809-10 (Fed.

Cir. 1990) (awarding attorney fees where lawsuit was frivolous and supported by no evidence).

“The prevailing party may prove the existence of an exceptional case by showing: inequitable

conduct before the PTO; litigation misconduct; vexatious, unjustified, and otherwise bad faith

litigation; a frivolous suit or willful infringement.” Phonometrics, Inc. v. Westin Hotel Co., 350

F.3d 1242, 1246 (Fed. Cir. 2003) (“Westin Hotel”).

       In addition, “objective baselessness alone can create a sufficient inference of bad faith to

establish exceptionality under § 285.” Octane, 134 S. Ct. at 1754 n.4. “Where . . . the patentee

is manifestly unreasonable in assessing infringement, while continuing to assert infringement in

court, an inference is proper of bad faith, whether grounded in or denominated wrongful intent,

recklessness, or gross negligence.” Lumen View Tech., LLC v. Findthebest.com, Inc., 24 F.

Supp. 3d 329, 336 (S.D.N.Y. 2014), (citing Eltech, 903 at 811), (granting fees where plaintiff’s

case was “frivolous and objectively unreasonable” because plaintiff continued to litigate its case

despite receiving notice that defendant’s product simply could not infringe plaintiff’s patent – a

fact a basic pre-suit investigation would have revealed), aff’d, 811 F.3d 479 (Fed. Cir. 2016).

       By maintaining this baseless action after learning that infringement of the asserted claims

of the ’412 and ’733 Patents is impossible and that the asserted claim of the ’615 Patent is



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indefinite as a matter law, Hyper Search is acting “manifestly unreasonabl[y]” and an “inference

is proper of bad faith.” Eltech, 903 F.2d at 811. Such bad faith litigation constitutes a

preponderance of the evidence warranting an exceptional case determination. Octane, 134 S. Ct.

at 1758 (prevailing party must prove exceptional case by preponderance of the evidence).

           C. The Continued Maintenance of this Action Violates 28 U.S.C. § 1927.

       A court may impose sanctions against an attorney under 28 U.S.C. §1927 “if it concludes

that an attorney, in bad faith, ‘unreasonably and vexatiously’ multiplied the proceedings.” Great

W. Mining & Mineral Co. v. ADR Options, Inc., 533 F. App’x 132, 134 (3d Cir. 2013) (quoting

27 U.S.C. § 1927 (2013)). Section 1927 requires a finding that counsel’s conduct is “stamped by

bad faith that is violative of recognized standards in the conduct of litigation.” Lewis v. Smith,

2010 U.S. App. LEXIS 27606 (3d Cir. 2010). “Evidence of bad faith includes [whether]: (1) the

claims advanced were meritless; (2) counsel knew or should have known the claims were

meritless; and (3) the motive for filing the suit was for an improper purpose, such as

harassment.” Id. (citing In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 278

F.3d 175, 188 (3d Cir. 2002)). Continuing “to litigate [a] case knowing that its claim c[an] not

meet the standard for infringement . . . violate[s] section 1927. … When it becomes apparent that

discoverable evidence will not bear out the claim, the litigant and his attorney have a duty to

discontinue their quest.” Westin Hotel, 350 F.3d at 1248 (citing Avirgan v. Hull, 932 F.2d 1572,

1582 (11th Cir. 1991)); see also W.L. Gore & Assocs., Inc. v. C.R. Bard, Inc., 231 F. Supp. 3d

19, 23 (D. Del. 2017) (awarding fees under Section 1927 after patentee continued its pursuit of

its claim in face of “completely unrebutted evidence to the contrary”). For the same reasons that

the continued maintenance of this action violates Rule 11 and 35 U.S.C. § 285, it also violates 28

U.S.C. §1927.



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VI.    CONCLUSION

       For the foregoing reasons, Foursquare respectfully submits that Hyper Search should be

sanctioned under Fed. R. Civ. P. 11 and 35 U.S.C. § 285, and that Hyper Search’s attorneys

should be sanctioned under Fed. R. Civ. P. 11, 35 U.S.C. § 285 and 28 U.S.C. §1927.



                                                   BLANK ROME LLP

Dated: November 5, 2018                            /s/ Adam V. Orlacchio
                                                   Adam V. Orlacchio (#5520)
                                                   1201 N. Market Street, Suite 800
                                                   Wilmington, Delaware 19801
                                                   (302) 425-6431 Telephone
                                                   (302) 425-6464 Facsimile
                                                   orlacchio@blankrome.com

OF COUNSEL:                                        Attorneys for Defendant,
                                                   Foursquare Labs, Inc.
BLANK ROME LLP
Kenneth L. Bressler
The Chrysler Building
405 Lexington Avenue
New York, New York 10174
(212) 885-5000
kbressler@blankrome.com

Megan R. Wood
1825 Eye Street, NW
Washington, D.C. 20006
(212) 420-2200
mwood@blankrome.com




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


HYPER SEARCH LLC,

                       Plaintiff,
                                                     C.A. No. 1:18-cv-01274-CFC
              v.

FOURSQUARE LABS, INC.,

                       Defendant.


      DECLARATION OF MATTHEW KAMEN IN SUPPORT OF FOURSQUARE
           LAB INC.’S MOTION TO DISMISS AND FOR SANCTIONS

Matthew Kamen declares:

       1.     I am the Senior Vice-President of Engineering at Foursquare Lab Inc. I have

personal knowledge of the facts set forth herein and, if called as a witness, could testify

competently to them.

       2.     I graduated from Harvard University in 2003. In 2005, I went to work for

Goldman Sachs and eventually became the Vice-President of Technology. In 2011, I joined

Foursquare and started working on the web team as an individual contributor. In 2016, I

became the Vice-President of Enterprise and in 2017 I became Senior Vice-President of

Engineering. I am the most senior person in the engineering department.

       3.     Foursquare provides an online service that makes recommendations to users who

are searching for places to go, such as an Italian restaurant in Wilmington, Delaware. This is

done by use of either the Foursquare app or through a web page on Foursquare.com.

       4.     While working at Foursquare for the past seven years I have developed a deep

understanding of our technology and how our various products work, including our

recommendation service.
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       5.     I understand that Hyper Search sued Foursquare for infringing two patents that

involve the use of neural networks “for controlling venue information output based on user

feedback about venues, such as restaurants and other entities.” (Complaint ¶7). I find this

troublesome as Foursquare unequivocally does not use a neural network for this purpose.

       6.     Our system works as follows: When a user executes a search for a nearby Italian

restaurant, Foursquare’s server first retrieves a list of Italian restaurants. This is a coarse process

that generates a list that is too long to show a user. For example, the results would include Italian

restaurants that would be too far away from the user.

       7.     The system then generates a series of scores based on many features such as the

restaurant’s distance from the user, the restaurant’s popularity, the number of the user’s friends

who have been to the restaurant, and whether the user or the user’s friends have previously liked

or disliked the restaurant.

       8.     The system then develops a ranking for each of the restaurants by looking to

various features such as the restaurant’s distance from the user, the restaurant’s popularity, the

number of the user’s friends who have been to the restaurant, and whether the user or the user’s

friends have previously liked or disliked the restaurant. Each feature has a preset value (or

weight) assigned to it. For example, assume that twenty of the user’s friends have been to the

restaurant. This twenty-value (or score) is multiplied by a weight value, assume 0.05, to provide

a weighted value of 1.0. As another example, the system may find a restaurant that is two blocks

away and one that is fifteen miles away. This distance-value (or score) for each restaurant is

combined with a weight assigned to that feature (i.e., distance from the user), assume again 0.05,

to provide a value of -0.02 for the restaurant that is two blocks away and 0.0033 for the

restaurant that is fifteen miles away, showing a preference for closer locations. The final score



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value, which is a combination of the weighted scores, is then used in determining the order in

which the Italian restaurants are presented to the user.

       9.     This rating determination method used in the system is in no way similar to a

neural network.

       10.    At Foursquare, the weight given to each feature or a merged group of features is

set manually by our engineers and does not change unless we decide to have one of our

engineers manually make changes by reviewing search results to see if he or she thinks that the

results are not as useful as they can be. For example, if the search for an Italian restaurant in

Wilmington shows as the first result a restaurant that is five miles from where the search takes

place, the engineer may give a greater weight to the distance to the restaurant so that restaurants

that are closer to the user are recommended.

       11.    Having engineers manually adjust the weight given to certain features is

diametrically opposed to the way weights are adjusted in a neural network. In a neural network,

the system itself—as opposed to an engineer—uses the feedback provided by users and readjusts

weights automatically. For example, a neural network would understand from the restaurants

chosen by users from the list of recommendations given to them that the users may value the

proximity to where they are more than whether their friends have been there. The neural

network would then adjust the weight given to the features to give more weight to proximity.

       12.    I understand that Hyper Search refers in its complaint to a document titled

“Finding the Perfect 10: How We Developed the Foursquare Rating System” as evidence that

Foursquare uses a neural network. But that article makes clear that we use a natural language

pipeline in combination with a statistical analysis model known as trinomial logistic regression

to determine whether a particular user response is a “like,” “dislike,” or okay—the three



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